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                                United States District Court
                                    NORTHERN DISTRICT OF TEXAS
                                    1100 COMMERCE, ROOM 1572
                                       DALLAS, TEXAS 75242

       CHAMBERS OF                                                               TELEPHONE (214) 753-2420
CHIEF JUDGE BARBARA M.G. LYNN




                                           July 8, 2022



To All Attorneys of Record

       Re:      Siharath v. Wells Fargo Bank, N.A., et al.
                Case No. 3:21-CV-2609-M

Dear Counsel:

        It has come to the Court’s attention that this case has settled. I commend you on your
diligent efforts. I would like to receive the executed dismissal papers by August 30, 2022.

                                              Very truly yours,




BMGL/jlf
